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\AO 2458 (SCDC Rev.09/11) Judgment in a Criminal Case Sheet 1



                            UNITED STATES DISTRICT COURT
                                          District of South Carolina

UNITED STATES OF AMERlCA                                                  JUDGMENT IN A CRIMINAL CASE
         vs.
                                                                          Case Number: 3:13-134 (002 JFA)
IZELL DELOREAN GRlSSETT, JR.
a/kJa "Buddy"                                                             USM Number: 25101-171

                                                                          Charlie J. Johnson, Jr., Esq. (Retained)
                                                                          Defendant's Attorney
THE DEFENDANT:

o     pleaded guilty to count(s)_.
o     pleaded nolo contendere to count(s)                                    which was accepted by the court.
•     was found guilty on count(s) 1,4,5,6,7 of the indictment on 2/7/14 after a plea of not gUilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                     Offense Ended                      Count
21 USC 846                      Please see indictment                                 2/19/13                            1
  21 USC 841(a)(1);(b)(1)(A)
18 USC 1951 and 2               Please see indictment                                 6/23/10                            4
18 USC 924(c)(I); (c)(1)(A)(ii);Please see indictment                                 6/23/1 0                           5
    (C)(l)(A)(iii) and 2
18 USC 922(g)(1); 924(a)(2)     Please see indictment                                 6/23/10                            6
21 USC 841(a)(1); (b)(1)(B)     Please see indictment                                 6/2311 0                           7
  (B)(I)(C); 18 USC 2
         The defendant is sentenced as provided in pages 2 through ~ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o        The defendant has been found not guilty on count(s)_ _.
         Count(s) _ D is Dare         dismissed on the motion of the United States.
•        Forfeiture provision is hereby dismissed on motion of the United States Attorney.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.




                                                                            Joseph F. Anderson, Jr., United States District Judge
                                                                            Nam<and Hie ofludge           '-I    ~
                                                                            Illly 9
                                                                            Date {"
                                                                                      2~         eX 0 I
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AO 2458 (SCDC Rev. 09/11) Judgment in a Criminal Case
         Sheet 2 • Imprisonment                                                                           Page 2


DEFENDANT: IZELL DELOREAN GRISSETT, JR.
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term ofUFE. This term consists of Life as to count 1, Two Hundted Forty (240) months
as to count 4, One Hundred Twenty (120) months as to count 6, Four Hundred Eighty (480) months as to count
7, said terms to run concurrently, and One Hundred Twenty (120) months as to count 5, said term to run
consecutively to the terms imposed for the other counts of conviction.


•          The court makes the following recommendations to the Bureau of Prisons:
           For defendant to be placed in a Federal Institution in or near South Carolina.



•          The defendant is remanded to the custody ofthe United States MarshaL


D          The defendant shall surrender to the United States Marshal for this district:
           D at                       D a.m. D p.m. on _ _ _----,,...--_ _ _ _ _ _ __
           D as notified by the United States Marshal.
D The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
          D before 2 p.m. on _ _ _ _ _ _-'--_ _ _--'-_
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this Judgment as follows:


Defendant delivered on
                                   --------------------------
-------_______________________, with a certified copy of this judgment.

                                                                                       UNITED STATES MARSHAL


                                                                        Byc._ _~~~~~~~~~~~==~~
                                                                                  DEPl:TTY
                                                                                   ..
                                                                                  .'
                                                                                           UNITED
                                                                                          ~""
                                                                                                  STATES MARSHAL
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AO 2458 (SCDC Rev. 0911 I) Judgment in a Criminal Case
        Sheet 3 - Supervised Release                                                                                     Page 3
DEFENDANT: IZELL DELOREAN GRISSETT, JR.
CASE NUMBER: 3:13-134

                                                         SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of Five (5) years. This tenn consists of
Five (5) years as to counts 1,5 and 7, and Three (3) years as to counts 4 and 6, said terms to run concurrently.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court:
o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
•     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
•     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
      resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions:
Unless able to secure stable and verifiable employment, the defendant shall participate in a Vocational Traming or Work Force
Development Program as approved by the US Probation Office. The defendant shall submit to random drug testing as administered by
the US Probation Officer.

                                     STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
      defendant's compliance with such notification requirement.
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 AO 245B (SCDC Rev. 09/11) Judgment in a Criminal Case
          Sheet 4 - Criminal Monetary Penalties                                                                          Page 4

 DEFENDANT: IZELL DELOREAN GRISSETT, JR.
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                                                 CRIMINAL MONETARY PENALTIES
 The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 5.

                    Assessment                                                                         Restitution

 TOTALS             $ 500.00



 D   The determination of restitution is deferred until      _ _-,-__. An Amended Judgment in a Criminal Case(A0245C) will be
     entered after such determination ..

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receivean approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be
     paid before the United States is paid. .

 Name of Payee                                 Total Loss*                   Restitution Ordered                 . Priority or Percentage




                                                                              ,




                                                                                                                                       ~




TOTALS                                     $                                      $



o    Restitution amount ordered pursuant to plea agreement       ;:.~_ _ _ _ _ _ _ _ __


o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §3612(t). All of the payment options on Sheet 5 may be subject to .
     penalties for delinquency and defaUlt, pursuant to 18 U.S.C. §3612(g).                                                                 .

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         o        The interest requirement is waived for the 0 fine· 0 restitution.
         o        The interest requirement for the 0 fin~ 0 restitUtion is modified as follows:

**Findings for the total amount oflosses are required under Chapters 109A, 1I0, IIOA, and 113A of Title 18 for offenses committed on or
after September 13,1994, but before April 23, 1996.
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AO 245B (SCDC Rev. 9/11) Judgment in a Criminal Case
     Sheet 5 - Schedule of Payments                                                                                          Page 5


DEFENDANT: IZELL DELOREAN 9RISSETT, JR.
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                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     •       Lump sum payment of$ 500.00 special assessment due immediately, balance due

                  not later than
                                   ------------------------, or
              •   in accordance with    D C,           D, or   D   E, or •   F below: or

B             Payment to begin immediately (may be combined with             Dc, D D, or 0        F below); or

C     D       Payment in equal _ _ _ _(weekly, monthly, quarterly) installments of "'"$___________over a period
              months or years), to commence _______            (30 or 60 days) after the date of this judgment; or


D     D        Payment in equal                     (weekly, monthly, quarterly) installments of $                 over it period of
              _____{e.g., months or years), to commence                 (30 or 60 days) after release from imprisonment to a term of
          supervision; or

E     D       Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment. The
              court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     •       Special instructions regarding the payment of criminal monetary penalties: During incarceration, the Defendant shall make
              payments of not greater than 50 percent of net quarterly prison income, applied to Special Assessment and Restitution.

Ifrestitution, fine and/or special assessment are ordered due immediately, payments made pursuant to this judgment while the defendant is
incarcerated, on supervised release, or on probation are minimum payments only and do not preclude the government from seeking to
enforce this judgment against other assets or non-prison income ofthe defendant. In other words if ordered due immediately, the
government may seek to enforce the full amount of any monetary penalty at any time pursuant to 18 U.S.C. § 3612, 3613 and 3664(m).

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate, ­
Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate..




D     The defendant shall pay the cost of prosecution.
D     The defendant shall pay the following court cost(s):
D     The defendant shall forfeit the defendant's interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed _____ and the said order is incorporated herein as part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
